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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

    UNITED STATES OF AMERICA,                         )   CASE NO.: 1:19-CR-00580
                                                      )
                  Plaintiff,                          )   JUDGE DONALD C. NUGENT
                                                      )
           v.                                         )
                                                      )
    ROBERT BERMAN,                                    )   UNITED STATES’ RESPONSE TO
                                                      )   DEFENDANT’S MOTION TO STAY
                  Defendant.                          )   SURRENDER DATE


         Now comes the United States of America, by and through its attorneys, Bridget M.

Brennan, Acting United States Attorney, and Brian S. Deckert, Assistant United States Attorney,

and hereby files this opposition to the Defendant’s motion to stay his surrender date. (Doc. 125:

Motion to Stay, PageID 599-600). The Defendant indicates that he has received notice to

surrender to Lompoc USP SCP on April 13, 2021. (Id.). The Defendant requests extra time to

receive a complete vaccination for COVID-19. A review of the Federal Bureau of Prisons data

on vaccinations reveals that at Lompoc FCC approximately 621 inmates have been fully

inoculated. 1 Lompoc USP is a medium security federal correctional facility that is part of

Lompoc FCC with approximately 783 total inmates. 2 The total population of Lompoc FCC

including all of their units is 1,966. 3




1
    https://www.bop.gov/coronavirus/index.jsp

2
    https://www.bop.gov/locations/institutions/lom/

3
 124 inmates at Camp N, 217 inmates at the Camp, 783 inmates at the USP, and 842 inmates at
FCI Lompoc.
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       The Federal Bureau of Prisons is continuing to inoculate its staff and inmates and the 621

number above represents only those that have received both doses at FCC Lompoc. The

Defendant will receive proper medical attention when he surrenders to serve his sentence and a

delay of three months is unnecessary.

       CONCLUSION

       For these reasons the Government opposes the Defendant’s request to stay his self-

surrender date.

                                                     Respectfully submitted,

                                                     BRIDGET M. BRENNAN
                                                     Acting United States Attorney

                                             By:     /s/ Brian S. Deckert
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